JMB CAPITAL PARTNERS MASTER FUND, L.P. ; Caldwell FB I LLC; Fulcrum Credit Partners LLC ; Steelman Partners LLP; Joint China Commerce Limited; and Concave Investors, LLC, Petitioners, v. The EIGHTH JUDICIAL DISTRICT COURT of the State of Nevada, IN AND FOR the COUNTY OF CLARK; and the Honorable Elizabeth Goff Gonzalez, District Judge, Respondents, and Soneet R. Kapila, Not Individually but as Chapter 7 Trustee of Fontainebleau Las Vegas Holdings, LLC, Fontainebleau Las Vegas, LLC, Fontainebleau Las Vegas Capital Corp., Fontainebleau Las Vegas Retail Parent, LLC, Fontainebleau Las Vegas Retail Mezzanine, LLC, Fontainebleau Las Vegas Retail, LLC; W&amp;W-AFCO Steel LLC ; Commercial Roofers, Inc.; Dielco Crane Service, Inc.; Desert Mechanical, Inc., f/k/a Desert Plumbing &amp; Heating Co., Inc.; American Building Supply, Inc., f/k/a Door &amp; Hardware Management, Inc.; Eberhard Southwest Roofing, Inc. ; Fisk Electric Company; L.A. Nevada, Inc., d/b/a G&amp;G Systems; Geo Cell Solutions, Inc. : J.F. Duncan Industries, Inc.; JS&amp;S, Inc.; Lally Steel, Inc. ; Northstar Contracting Group, Inc., f/k/a LVI Environmental of Nevada, Inc.; Marnell Masonry, Inc.; Midwest Pro Painting, Inc.; Modernfold of Nevada, LLC ; Aggregate Industries-SWR, Inc. ; Water FX, LLC ; F. Rodgers Corporation; Coreslab Structures (L.A.) Inc. ; Keenan, Hopkins, Suder &amp; Stowell Contractors, Inc.; Dayco Funding Corporation ; Air Design Technologies, LLC; Airtek Products LLC; Johnson Controls International, PLC ; Allegheny Millwork &amp; Lumber Co.; L&amp;P Interiors, LLC ; Honeywell International, Inc.; The Penta Building Group, Inc.; Ram Construction Services of Michigan, Inc.; Graybar Electric Company, Inc.; Giroux Glass Inc.; Farmstead Capital Management, LLC ; JBA Consulting Engineers, Inc.; Bergman, Walls &amp; Associates; YWS Architects, Ltd.; TMCX Nevada, LLC; John A. Martin &amp; Associates of Nevada, Inc. ; Scoggin Worldwide Fund, Ltd. ; Scoggin International Fund, Ltd.; Scoggin Capital Management II, LLC ; Lockwood, LLC; American Crane and Hoist Erectors, LLC ; Republic Towers and Hoist, LLC ; Republic Crane Service, LLC; Tracy &amp; Ryder Landscape ; Cashman Equipment Company; GCP Applied Technologies, Inc., f/k/a W.R. Grace &amp; Co.; Superior Tile &amp; Marble, Inc.; Midwest Drywall Co., Inc.; West Edna &amp; Associates, d/b/a Mojave Electric, Inc.; Tractel, Ltd.; Tractee, Inc.; Technicoat Management, Inc. ; Cemex Construction Materials Pacific, LLC; Gerdau Reinforcing Steel, f/k/a Pacific Coast Steel and Century Steel, Inc.; Schwimmer Drapery, Inc. ; Las Vegas Sands Corp.; Derr and Gruenewald Construction Co.; and Roncelli, Inc., Real Parties in Interest.DENIED.